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 1                                                                The Honorable Robert S. Lasnik

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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9                                                    )
     STATE OF WASHINGTON, et al.,                     )   No. 2:18-cv-1115-RSL
10                                                    )
       Plaintiffs,                                    )   FEDERAL DEFENDANTS’
11                           v.                       )   ANSWER TO FIRST AMENDED
                                                      )   COMPLAINT FOR
12   UNITED STATES DEPARTMENT OF                      )   DECLARATORY AND
     STATE, et al.,                                   )   INJUNCTIVE RELIEF
13                                                    )
       Defendants.                                    )
14                                                    )
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     Federal Defendants’ Answer to First Am. Compl.
                                                                           United States Department of Justice
     (No. 2:18-cv-1115-RSL) – i                                       Civil Division, Federal Programs Branch
                                                                                                1100 L St. NW
                                                                                       Washington, DC 20005
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 1          Defendants United States Department of State; Michael R. Pompeo, in his official
 2   capacity as Secretary of State; Directorate of Defense Trade Controls; Michael Miller, in his
 3   official capacity, exercising the delegated authorities of the Deputy Assistant Secretary of
 4   Defense Trade Controls; and Sarah Heidema, in her official capacity as Director, Office of
 5   Defense Trade Controls Policy (hereinafter “Federal Defendants”), hereby answer Plaintiffs’
 6   First Amended Complaint for Declaratory and Injunctive Relief, ECF No. 29 (“Amended
 7   Complaint”).
 8          The portion of the Amended Complaint preceding the first numbered paragraph consists
 9   of Plaintiffs’ characterization of the Amended Complaint, not allegations of fact to which a
10   response is required.
11          1.      The first and second sentence, including footnote 1, consist of Plaintiffs’
12   characterization of the Amended Complaint, not allegations of fact to which a response is
13   required. As to the third sentence, admit only that the files at issue here could be used by
14   individuals with the appropriate printer, materials, and knowledge to create certain firearms,
15   including, potentially, in a manner that violates State or Federal law. The fourth sentence consists
16   of conclusions of law, not allegations of fact to which a response is required; to the extent a
17   response is deemed required, deny. The fifth sentence consists of conclusions of law, not
18   allegations of fact to which a response is required; to the extent a response is deemed required,
19   admit. The sixth sentence consists of Plaintiffs’ characterization of certain filings made in
20   Defense Distributed v. U.S. Dep’t of State, 1:15-CV-372 RP (W.D. Tex.), to which Defendants
21   respectfully refer the Court for a full and complete statement of their contents; to the extent a
22   response is deemed required, admit that Plaintiffs have accurately quoted from such filings.
23          2.      The first and third sentences consist of Plaintiffs’ characterization of the
24   settlement agreement in Defense Distributed v. U.S. Dep’t of State, 1:15-CV-372 RP (W.D. Tex.)
25   (hereinafter the “Settlement Agreement”), to which Federal Defendants respectfully refer the
26   Court for a full and complete statement of its contents; to the extent responses are deemed
27   required, deny the first sentence and deny the third sentence as an incomplete characterization of
     Federal Defendants’ Answer to First Am. Compl.
                                                                                United States Department of Justice
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 1   the Settlement Agreement. Federal Defendants lack knowledge or information sufficient to form

 2   a belief as to the truth of the allegations in the second sentence.

 3          3.      This paragraph consists of Plaintiffs’ characterization of the “Temporary

 4   Modification of Category I of the United States Munitions List” published on the State

 5   Department’s web site on July 27, 2018 (hereinafter the “Temporary Modification”); Federal

 6   Defendants respectfully refer the Court to the Temporary Modification for a full and complete

 7   statement of its contents. To the extent a response is deemed required, deny the first sentence as

 8   an inaccurate characterization and admit the second sentence.

 9          4.      The first sentence consists of Plaintiffs’ characterization of the Temporary

10   Modification; Federal Defendants respectfully refer the Court to the Temporary Modification for

11   a full and complete statement of its contents. Federal Defendants lack knowledge or information

12   sufficient to form a belief as to the truth of the allegations in the second sentence. Insofar as the

13   phrase “practically speaking, irretrievable” is undefined and vague, Defendants lack knowledge

14   or information sufficient to admit or deny the allegations of the third sentence.

15          5.      Federal Defendants lack knowledge or information sufficient to form a belief as

16   to the truth of the allegations in this paragraph, with the exception of footnote 2, which

17   Defendants admit.

18          6.      This paragraph consists of Plaintiffs’ characterization of a Wired article, cited in

19   footnote 3, to which Federal Defendants respectfully refer the Court for a full and complete

20   statement of its contents. To the extent a response is deemed required, admit that Plaintiffs have

21   accurately quoted from the Wired article.

22          7.      This paragraph consists of legal conclusions, not allegations of fact to which a

23   response is required. To the extent that a response is deemed required, denied.

24          8.      The first sentence consists of legal conclusions, not allegations of fact to which a

25   response is required; to the extent that a response is deemed required, Defendants lack knowledge

26   or information sufficient to admit or deny what Plaintiffs find “especially troubling.” The second

27   sentence consists of Plaintiffs’ characterization of the Temporary Modification, to which
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 1   Defendants respectfully refer the Court for a full and complete statement of its contents. To the

 2   extent that a response is deemed required, admit that the Temporary Modification would apply

 3   to certain files not yet developed.

 4          9.      The first sentence consists of legal conclusions, not allegations of fact to which a

 5   response is required; to the extent that a response is deemed required, denied. Deny the second

 6   sentence.

 7          10.     This paragraph consists of Plaintiffs’ characterization of certain notices of

 8   proposed rulemaking published in the Federal Register, to which Federal Defendants respectfully

 9   refer the Court for a full and complete statement of their contents. To the extent that a response

10   is deemed required, admit that the notices of proposed rulemaking do not explicitly address the

11   possibility of the files “falling into the hands of terrorist organizations, insurgent groups,

12   transnational organized criminal organizations, or countries subject to the U.S. or U.N. arms

13   embargoes.”

14          11.     Deny.

15          12.     The first sentence consists of conclusions of law, not allegations of fact to which

16   a response is required; to the extent that a response is deemed required, denied. The second

17   sentence consists of a request for relief, to which no response is required; to the extent that a

18   response is deemed required, Federal Defendants deny that Plaintiffs are entitled this relief or

19   any relief whatsoever.

20          13.     This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, deny that the Court has

22   subject matter jurisdiction.

23          14.     This paragraph consists of conclusions of law, not allegations of fact to which a

24   response is required. To the extent that a response is deemed required, admit only that venue is

25   proper in this Court because the State of Washington is located here, and otherwise deny.

26          15.     The first sentence consists of conclusions of law, not allegations of fact to which

27   a response is required; to the extent that a response is deemed required, admit. Deny the second
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                                                                               United States Department of Justice
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 1   sentence. The third sentence consists of conclusions of law, not allegations of fact to which a

 2   response is required; to the extent that a response is deemed required, deny. The fourth sentence

 3   consists of Plaintiffs’ characterization of the Amended Complaint, not allegations of fact to which

 4   a response is required.

 5          16.     The first sentence consists of conclusions of law, not allegations of fact to which

 6   a response is required; to the extent that a response is deemed required, admit that the States have

 7   such an interest but deny that it gives rise to standing here. The second and third sentences

 8   consist of Plaintiffs’ quotation of a Supreme Court decision, to which Defendants respectfully

 9   refer the Court for a full and complete statement of its contents; to the extent a response is deemed

10   required, admit that Plaintiffs have accurately quoted from that decision. The fourth sentence

11   consists of conclusions of law, not allegations of fact to which a response is required; to the extent

12   that a response is deemed required, admit that the regulation of firearms is among the police

13   powers of the States.

14          17.     The first sentence consists of conclusions of law, not allegations of fact to which

15   a response is required; to the extent that a response is deemed required, denied. Deny the second

16   sentence.

17          18.     The first sentence consists of conclusions of law, not allegations of fact to which

18   a response is required; to the extent that a response is deemed required, admit that the States have

19   such an interest but deny that it gives rise to standing here. Deny the second, third, fourth, fifth,

20   sixth, and seventh sentences. Admit the eighth sentence. Deny the ninth sentence. Admit the

21   tenth and eleventh sentences but deny that they are examples of any risks traceable to the actions

22   challenged in this case.

23          19.     The first sentence consists of conclusions of law, not allegations of fact to which

24   a response is required; to the extent that a response is deemed required, admit. The second

25   sentence consists of Plaintiffs’ characterization of the Settlement Agreement, to which Federal

26   Defendants respectfully refer the Court for a full and complete statement of its contents; to the

27   extent that a response is deemed required, admit.
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 1            20.    The first sentence consists of Plaintiffs’ characterization of the Amended

 2   Complaint, not allegations of fact to which a response is required. The second sentence consists

 3   of conclusions of law, not allegations of fact to which a response is required; to the extent that a

 4   response is deemed required, admit. The third sentence consists of Plaintiffs’ characterization of

 5   the Settlement Agreement, to which Federal Defendants respectfully refer the Court for a full

 6   and complete statement of its contents; to the extent that a response is deemed required, admit.

 7            21.    The first sentence consists of conclusions of law, not allegations of fact to which

 8   a response is required; to the extent that a response is deemed required, admit. The second

 9   sentence consists of Plaintiffs’ characterization of (1) the Settlement Agreement, and (2) the

10   Temporary Modification; Federal Defendants respectfully refer the Court to those documents for

11   a full and complete statement of their contents; to the extent that a response is deemed required,

12   admit.

13            22.    The first sentence consists of Plaintiffs’ characterization of the Amended

14   Complaint, not allegations of fact to which a response is required. The second sentence consists

15   of Plaintiffs’ characterization of the Settlement Agreement, to which Federal Defendants

16   respectfully refer the Court for a full and complete statement of its contents; to the extent that a

17   response is deemed required, admit that the Deputy Assistant Secretary was a party to the

18   Settlement Agreement.

19            23.    The first sentence consists of Plaintiffs’ characterization of the Amended

20   Complaint, not allegations of fact to which a response is required. The second sentence consists

21   of Plaintiffs’ characterization of the Settlement Agreement, to which Federal Defendants

22   respectfully refer the Court for a full and complete statement of its contents; to the extent that a

23   response is deemed required, admit.

24            24.    Federal Defendants lack knowledge or information sufficient to form a belief as

25   to the truth of the allegations in the first, second, and third sentences. The fourth sentence consists

26   of conclusions of law, not allegations of fact to which a response is required; to the extent that a

27
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 1   response is deemed required, Federal Defendants take no position on whether Defense

 2   Distributed is a necessary party.

 3          25.     Federal Defendants lack knowledge or information sufficient to form a belief as

 4   to the truth of the allegations in first sentence. The second sentence consists of conclusions of

 5   law, not allegations of fact to which a response is required; to the extent that a response is deemed

 6   required, Federal Defendants take no position on whether Second Amendment Foundation is a

 7   necessary party.

 8          26.     Federal Defendants lack knowledge or information sufficient to form a belief as

 9   to the truth of the allegations in first sentence. The second sentence consists of conclusions of

10   law, not allegations of fact to which a response is required; to the extent that a response is deemed

11   required, Federal Defendants take no position on whether Conn Williamson is a necessary party.

12          27.     This paragraph consists of conclusions of law, not allegations of fact to which a

13   response is required. To the extent that a response is deemed required, admit the first sentence,

14   deny the second sentence as an incomplete characterization of 22 U.S.C. § 2751, and otherwise

15   refer the Court to the statute for a full and complete statement of its contents.

16          28.     This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, admit and otherwise refer

18   the Court to the statute for a full and complete statement of its contents.

19          29.     This paragraph consists of conclusions of law, not allegations of fact to which a

20   response is required. To the extent that a response is deemed required, deny the first sentence,

21   deny the second and third sentences as an incomplete characterization of 22 C.F.R. § 120.10, and

22   otherwise refer the Court to the regulations for a full and complete statement of their contents.

23          30.     This paragraph consists of Plaintiffs’ characterization of a declaration submitted

24   in Defense Distributed v. U.S. Dep’t of State, 1:15-CV-372 RP (W.D. Tex.), to which Federal

25   Defendants respectfully refer the Court for a full and complete statement of its contents. To the

26   extent that a response is deemed required, admit that Plaintiffs have accurately quoted from that

27   declaration.
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 1          31.     This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, admit and otherwise

 3   respectfully refer the Court to the cited provisions for a full and complete statement of their

 4   contents.

 5          32.     This paragraph consists of conclusions of law, not allegations of fact to which a

 6   response is required. To the extent that a response is deemed required, admit that Plaintiffs have

 7   accurately quoted from the Executive Order.

 8          33.     This paragraph consists of conclusions of law, not allegations of fact to which a

 9   response is required. To the extent that a response is deemed required, admit that notice is

10   required before an item is removed from the USML but deny that this requirement is implicated

11   in this case. Federal Defendants respectfully refer the Court to the cited provision for a full and

12   complete statement of its contents.

13          34.     This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, admit the first sentence

15   and deny the second sentence, and further respectfully refer the Court to the cited provision for

16   a full and complete statement of its contents.

17          35.     The first sentence consists of conclusions of law, not allegations of fact to which

18   a response is required; to the extent that a response is deemed required, admit that ITAR contains

19   a commodity jurisdiction procedure. The second sentence consists of conclusions of law, not

20   allegations of fact to which a response is required; to the extent a response is deemed required,

21   admit. Defendants respectfully refer the Court to the cited provision for a full and complete

22   statement of its contents.

23          36.     This paragraph consists of Plaintiffs’ characterization of a declaration submitted

24   in Defense Distributed v. U.S. Dep’t of State, 1:15-CV-372 RP (W.D. Tex.), to which Federal

25   Defendants respectfully refer the Court for a full and complete statement of its contents. To the

26   extent a response is deemed required, admit.

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 1           37.     This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required; to the extent that a response is deemed required, admit that Plaintiffs have

 3   accurately quoted from 22 C.F.R. § 120.4(f), and respectfully refer the Court to the cited

 4   provision for a full and complete statement of its contents.

 5           38.     Federal Defendants lack knowledge or information sufficient to form a belief as

 6   to the truth of the allegations in this paragraph.

 7           39.     As to the first sentence, admit that Defense Distributed posted certain CAD files

 8   on DEFCAD.org in our around May 2013; Federal Defendants lack knowledge or information

 9   sufficient to admit or deny the remaining allegations. As to the second sentence, admit that the

10   Liberator is a plastic firearm that contains a 6-oz piece of steel, that it is technically possible to

11   remove that piece of steel, and that doing so may render the firearm undetectable by certain walk-

12   through metal detectors.

13           40.     Admit the first sentence.            The second sentence consists of Plaintiffs’

14   characterization of an April 2018 court filing, to which Federal Defendants respectfully refer the

15   Court for a full and complete statement of its contents; to the extent that a response is deemed

16   required, admit that Plaintiffs have accurately quoted from such a filing. Deny the third sentence.

17           41.     The first, second, third and fourth sentences consist of Plaintiffs’ characterization

18   of a May 8, 2013 letter, to which Federal Defendants respectfully refer the Court for a full and

19   complete statement of its contents; to the extent a response is deemed required, admit. Admit

20   the fifth sentence.

21           42.     Admit that Defense Distributed submitted a commodify jurisdiction request, to

22   which Federal Defendants respectfully refer the Court for a full and complete statements of its

23   contents. The second sentence consists of Plaintiffs’ characterization of DDTC’s response to the

24   commodity jurisdiction request, to which Federal Defendants respectfully refer the Court for a

25   full and complete statement of its contents; to the extent that a response is deemed required, admit

26   that the DDTC determination contained the quoted language.

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 1          43.     This paragraph consists of Plaintiffs’ characterization of DDTC’s resolution of

 2   Defense Distributed’s commodity jurisdiction request, to which Federal Defendants respectfully

 3   refer the Court for a full and complete statement of its contents; to the extent that a response is

 4   deemed required, admit.

 5          44.     This paragraph consists of Plaintiffs’ characterization of DDTC’s resolution of

 6   Defense Distributed’s commodity jurisdiction request, to which Federal Defendants respectfully

 7   refer the Court for a full and complete statement of its contents; to the extent that a response is

 8   deemed required, admit that the DDTC determination contained the quoted language but

 9   otherwise deny as an incomplete characterization.

10          45.     This paragraph consists of Plaintiffs’ characterization of certain filings in Defense

11   Distributed v. U.S. Dep’t of State, 1:15-CV-372 RP (W.D. Tex.); Federal Defendants respectfully

12   refer the Court to those filings for a full and complete statement of their contents. To the extent

13   that a response is deemed required, admit.

14          46.     This paragraph consists of Plaintiffs’ characterization of a filing in Defense

15   Distributed v. U.S. Dep’t of State, 15-CV-372 RP (W.D. Tex.); Federal Defendants respectfully

16   refer the Court to that filing for a full and complete statement of its contents. To the extent that

17   a response is deemed required, admit that the quoted statements are contained in Federal

18   Defendants’ filings in that case.

19          47.     This paragraph consists of Plaintiffs’ characterization of filings in Defense

20   Distributed v. U.S. Dep’t of State, 1:15-CV-372 RP (W.D. Tex.); Federal Defendants respectfully

21   refer the Court to those filings for a full and complete statement of their contents. To the extent

22   that a response is deemed required, admit that Plaintiffs have accurately quoted from the

23   declaration of Lisa Aguirre.

24          48.     This paragraph consists of Plaintiffs’ characterization of an opinion entered in

25   Defense Distributed v. U.S. Dep’t of State, 15-CV-372 RP (W.D. Tex.); Federal Defendants

26   respectfully refer the Court to that opinion for a full and complete statement of its contents. To

27
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 1   the extent that a response is deemed required, admit that the district court accepted certain of the

 2   government’s arguments, and that the court’s opinion included the quoted language.

 3            49.   This paragraph consists of Plaintiffs’ characterization of an opinion entered by the

 4   United States Court of Appeals for the Fifth Circuit; Federal Defendants respectfully refer the

 5   Court that opinion for a full and complete statement of its contents. To the extent that a response

 6   is deemed required, admit that the Fifth Circuit opinion contained the quoted language.

 7            50.   This paragraph consists of Plaintiffs’ characterization of an order entered by the

 8   United States Supreme Court; Federal Defendants respectfully refer the Court to that order for a

 9   full and complete statement of its contents. To the extent that a response is deemed required,

10   admit.

11            51.   This paragraph consists of Plaintiffs’ characterization of filings in Defense

12   Distributed v. U.S. Dep’t of State, 1:15-CV-372 RP (W.D. Tex.); Federal Defendants respectfully

13   refer the Court to those filings for a full and complete statement of their contents. To the extent

14   that a response is deemed required, admit that Defendants moved to dismiss in April 2018, and

15   that their motion contained the quoted language.

16            52.   As to the first sentence, admit that Wilson and Defense Distributed announced

17   that the case had settled several weeks after Federal Defendants filed their motion to dismiss;

18   deny any remaining allegations. The second sentence consists of Plaintiffs’ characterization of

19   a news report cited in footnote 4, to which Federal Defendants respectfully refer the Court for a

20   full and complete statement of its contents; to the extent that a response is deemed required, admit

21   that the news report contained the quoted language. The third sentence consists of Plaintiffs’

22   characterization of filings in Defense Distributed v. U.S. Dep’t of State, 1:15-CV-372 RP (W.D.

23   Tex.); Federal Defendants respectfully refer the Court to those filings for a full and complete

24   statement of their contents. To the extent that a response is deemed required, admit.

25            53.   As to the first sentence, admit that the Settlement Agreement was executed on

26   June 29, 2018, and made public in July 2018; deny any additional allegations. As to the second

27   sentence, admit that Exhibit 6 is a true and correct copy of the Settlement Agreement.
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 1          54.     This paragraph, including footnote 5, consists of Plaintiffs’ characterization of the

 2   Settlement Agreement, to which Federal Defendants respectfully refer the Court for a full and

 3   complete statement of its contents. To the extent that a response is deemed required, admit that

 4   the Settlement Agreement contains the quoted language.

 5          55.     This paragraph consists of Plaintiffs’ characterization of the Settlement

 6   Agreement, to which Federal Defendants respectfully refer the Court for a full and complete

 7   statement of its contents. To the extent that a response is deemed required, admit as to the first

 8   sentence that the Settlement Agreement contains the quoted language and admit as to the second

 9   sentence that the Settlement Agreement applies to certain files not yet created.

10          56.     This paragraph consists of Plaintiffs’ characterization of the Settlement

11   Agreement, to which Federal Defendants respectfully refer the Court for a full and complete

12   statement of its contents. To the extent that a response is deemed required, deny the first sentence

13   and admit that the Settlement Agreement contains the language quoted in the second sentence.

14          57.     This paragraph consists of conclusions of law, not allegations of fact to which a

15   response is required. To the extent that a response is deemed required, admit that neither the

16   House Committee on Foreign Affairs nor the Senate Committee on Foreign Relations received

17   formal notice of the Temporary Modification before it went into effect on July 27, 2018, but deny

18   that such notice was required.

19          58.     This paragraph consists of Plaintiff’s characterization of the Settlement

20   Agreement, to which Defendants respectfully refer the Court for a full and complete statement

21   of its contents; to the extent that a response is deemed required, deny that Federal Defendants

22   violated any applicable requirements.

23          59.     Federal Defendants lack knowledge or information sufficient to form a belief as

24   to the truth of the allegations contained in this paragraph.

25          60.     This paragraph consists of Plaintiffs’ characterization of notices of proposed

26   rulemaking issued by the Departments of State and Commerce, to which Federal Defendants

27   respectfully refer the Court for a full and complete statement of their contents. To the extent that
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 1   a response is deemed required, admit that the government issued the cited notices of proposed

 2   rulemaking and that, if finalized as proposed, they would have the effect of removing the CAD

 3   files at issue from USML Category I.

 4          61.     This paragraph, including footnote 6, consists of Plaintiffs’ characterization of a

 5   notice of proposed rulemaking issued by the Department of State, to which Federal Defendants

 6   respectfully refer the Court for a full and complete statement of its contents, and of legal

 7   conclusions, rather than allegations of fact to which a response is required. To the extent that a

 8   response is deemed required, admit that Plaintiffs have accurately quoted from the State

 9   Department’s notice of proposed rulemaking; that the State Department’s notice of proposed

10   rulemaking proposed to remove non-automatic firearms up to .50 caliber (and related technical

11   data) from the USML and the Department of Commerce’s notice of proposed rulemaking

12   proposed to move them to the jurisdiction of the Department of Commerce, and that the

13   Department of Commerce’s current regulations would not limit the publication of technical data

14   relating to such weapons.

15          62.     This paragraph consists of Plaintiffs’ characterization of a notice of proposed

16   rulemaking issued by the Department of Commerce and of various provisions of the Export

17   Administration Regulations, to which Federal Defendants respectfully refer the Court for a full

18   and complete statement of their contents, and of legal conclusions, rather than allegations of fact

19   to which a response is required. To the extent that a response is deemed required, admit only

20   that the Department of Commerce’s notice of proposed rulemaking was issued the same day as

21   the Department of State’s notice of proposed rulemaking and otherwise deny as an incomplete

22   characterization.

23          63.     This paragraph consists of Plaintiffs’ characterization of notices of proposed

24   rulemaking issued by the Departments of State and Commerce, to which Defendants respectfully

25   refer the Court for a full and complete statement of their contents. To the extent that a response

26   is deemed required, admit that the public comment period concluded on July 9, 2018.

27
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 1          64.     This paragraph consists of Plaintiffs’ characterization of the Temporary

 2   Modification, to which Federal Defendants respectfully refer the Court for a full and complete

 3   statement of its contents. To the extent that a response is deemed required, admit that Plaintiffs

 4   have accurately quoted from the Temporary Modification, which was published on July 27, 2018.

 5          65.     The first sentence consists of conclusions of law, not allegations of fact to which

 6   a response is required; to the extent that a response is deemed required, denied. Deny the second

 7   sentence. The third sentence consists of Plaintiffs’ characterization of the Settlement Agreement,

 8   to which Federal Defendants respectfully refer the Court for a full and complete statement of its

 9   contents; to the extent that a response is deemed required, admit that Plaintiffs have accurately

10   quoted from the Settlement Agreement, but otherwise deny.

11          66.     This paragraph consists of conclusions of law, not allegations of fact to which a

12   response is required. To the extent that a response is deemed required, deny.

13          67.     The first and second sentences consist of conclusions of law, not allegations of

14   fact to which a response is required; to the extent that a response is deemed required, Federal

15   Defendants respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of

16   their contents. Deny the third sentence.

17          68.     This paragraph consists of conclusions of law, not allegations of fact to which a

18   response is required. To the extent that a response is deemed required, Federal Defendants

19   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

20          69.     This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, Federal Defendants

22   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

23          70.     Federal Defendants lack knowledge or information sufficient to form a belief as

24   to the truth of the allegations contained in this paragraph, other than to deny any allegations of

25   “unlawful action” on the part of the government.

26          71.     Denied.

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 1          72.     This paragraph (including footnote 7) consists of conclusions of law, not

 2   allegations of fact to which a response is required. To the extent that a response is deemed

 3   required, Federal Defendants respectfully refer the Court to Plaintiffs’ laws for a full and

 4   complete statement of their contents.

 5          73.     This paragraph consists of conclusions of law, not allegations of fact to which a

 6   response is required. To the extent that a response is deemed required, Federal Defendants

 7   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 8          74.     This paragraph (including footnote 8) consists of conclusions of law, not

 9   allegations of fact to which a response is required. To the extent that a response is deemed

10   required, Federal Defendants respectfully refer the Court to Plaintiffs’ laws for a full and

11   complete statement of their contents.

12          75.     This paragraph consists of conclusions of law, not allegations of fact to which a

13   response is required. To the extent that a response is deemed required, denied.

14          76.     The first sentence consists of conclusions of law, not allegations of fact to which

15   a response is required; to the extent that a response is deemed required, denied. As to the second

16   sentence, admit only that the files at issue here could be used by individuals with the appropriate

17   printer, materials, and knowledge to create certain firearms, including, potentially, in a manner

18   that violates State or Federal law. Defendants lack knowledge or information sufficient to admit

19   or deny the third sentence.

20          77.     Insofar as the terms “widely available” and “widely accessible” are undefined and

21   vague, Defendants are unable to admit or deny the allegations of this paragraph.

22          78.     This paragraph consists of Plaintiffs’ characterization of declarations attached to

23   the Amended Complaint; Federal Defendants respectfully refer the Court to those declarations

24   for a full and complete statement of their contents.

25          79.     This paragraph consists of conclusions of law, not allegations of fact to which a

26   response is required. To the extent that a response is deemed required, denied.

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 1          80.     This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          81.     This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          82.     This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, Federal Defendants

 9   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

10          83.     This paragraph consists of conclusions of law, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants

12   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          84.     This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          85.     This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, Federal Defendants

18   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

19          86.     This paragraph consists of conclusions of law, not allegations of fact to which a

20   response is required. To the extent that a response is deemed required, Federal Defendants

21   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

22          87.     This paragraph consists of conclusions of law, not allegations of fact to which a

23   response is required. To the extent that a response is deemed required, Federal Defendants

24   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

25          88.     This paragraph consists of conclusions of law, not allegations of fact to which a

26   response is required. To the extent that a response is deemed required, Federal Defendants

27   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.
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 1          89.     This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          90.     This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          91.     This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, denied.

 9          92.     The first sentence consists of conclusions of law, not allegations of fact to which

10   a response is required; to the extent that a response is deemed required, denied. As to the second

11   sentence, admit only that the files at issue here could be used by individuals with the appropriate

12   printer, materials, and knowledge to create certain firearms, including, potentially, in a manner

13   that violates State or Federal law. Defendants lack knowledge or information sufficient to admit

14   or deny the third sentence.

15          93.     This paragraph consists of conclusions of law, not allegations of fact to which a

16   response is required. To the extent that a response is deemed required, denied.

17          94.     This paragraph consists of conclusions of law, not allegations of fact to which a

18   response is required. To the extent that a response is deemed required, Federal Defendants

19   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

20          95.     This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, Federal Defendants

22   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

23          96.     This paragraph consists of conclusions of law, not allegations of fact to which a

24   response is required. To the extent that a response is deemed required, Federal Defendants

25   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

26          97.     The first sentence consists of conclusions of law, not allegations of fact to which

27   a response is required; to the extent that a response is deemed required, denied. As to the second
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 1   sentence, admit only that the files at issue here could be used by individuals with the appropriate

 2   printer, materials, and knowledge to create certain firearms, including, potentially, in a manner

 3   that violates State or Federal law. Defendants lack knowledge or information sufficient to admit

 4   or deny the third sentence.

 5          98.     The first, second, and third sentences consist of conclusions of law, not allegations

 6   of fact to which a response is required; to the extent that a response is deemed required, Federal

 7   Defendants respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of

 8   their contents. As to the fourth sentence, admit only that the files at issue here could be used by

 9   individuals with the appropriate printer, materials, and knowledge to create certain firearms

10   including, potentially, in a manner that violates State or Federal law; Federal Defendants lack

11   knowledge or information sufficient to form a belief as to the truth of the remaining allegations.

12          99.     This paragraph consists of conclusions of law, not allegations of fact to which a

13   response is required. To the extent that a response is deemed required, Federal Defendants

14   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

15          100.    This paragraph consists of conclusions of law, not allegations of fact to which a

16   response is required. To the extent that a response is deemed required, Federal Defendants

17   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

18          101.    This paragraph consists of conclusions of law, not allegations of fact to which a

19   response is required. To the extent that a response is deemed required, Federal Defendants

20   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

21          102.    This paragraph consists of conclusions of law, not allegations of fact to which a

22   response is required. To the extent that a response is deemed required, Federal Defendants

23   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

24          103.    This paragraph consists of conclusions of law, not allegations of fact to which a

25   response is required. To the extent that a response is deemed required, Federal Defendants

26   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

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 1          104.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          105.    This paragraph (including footnote 9) consists of conclusions of law, not

 5   allegations of fact to which a response is required. To the extent that a response is deemed

 6   required, Federal Defendants respectfully refer the Court to Plaintiffs’ laws for a full and

 7   complete statement of their contents.

 8          106.    The first and second sentences consist of conclusions of law, not allegations of

 9   fact to which a response is required; to the extent that a response is deemed required, denied. As

10   to the third sentence, admit only that the files at issue here could be used by individuals with the

11   appropriate printer, materials, and knowledge to create certain firearms, including, potentially, in

12   a manner that violates State or Federal law. Defendants lack knowledge or information sufficient

13   to form a belief as to the fourth sentence.

14          107.    This paragraph consists of conclusions of law, not allegations of fact to which a

15   response is required. To the extent that a response is deemed required, Federal Defendants

16   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

17          108.    This paragraph consists of conclusions of law, not allegations of fact to which a

18   response is required. To the extent that a response is deemed required, Federal Defendants

19   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

20          109.    This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, Federal Defendants

22   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

23          110.    This paragraph consists of conclusions of law, not allegations of fact to which a

24   response is required. To the extent that a response is deemed required, Federal Defendants

25   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

26

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 1          111.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          112.    This paragraph (including footnote 10) consists of conclusions of law, not

 5   allegations of fact to which a response is required. To the extent that a response is deemed

 6   required, Federal Defendants respectfully refer the Court to Plaintiffs’ laws for a full and

 7   complete statement of their contents.

 8          113.    This paragraph consists of conclusions of law, not allegations of fact to which a

 9   response is required. To the extent that a response is deemed required, Federal Defendants

10   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

11          114.    This paragraph consists of conclusions of law, not allegations of fact to which a

12   response is required. To the extent that a response is deemed required, Federal Defendants

13   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

14          115.    This paragraph consists of conclusions of law, not allegations of fact to which a

15   response is required. To the extent that a response is deemed required, Federal Defendants

16   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

17          116.    This paragraph consists of conclusions of law, not allegations of fact to which a

18   response is required. To the extent that a response is deemed required, Federal Defendants

19   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

20          117.    This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, Federal Defendants

22   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

23          118.    This paragraph consists of conclusions of law, not allegations of fact to which a

24   response is required. To the extent that a response is deemed required, Federal Defendants

25   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

26

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 1          119.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          120.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          121.    This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, Federal Defendants

 9   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents,

10   and otherwise deny that these laws are undermined by the actions challenged here.

11          122.    This paragraph consists of conclusions of law, not allegations of fact to which a

12   response is required. To the extent that a response is deemed required, Federal Defendants

13   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

14          123.    This paragraph consists of conclusions of law, not allegations of fact to which a

15   response is required. To the extent that a response is deemed required, Federal Defendants

16   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

17          124.    This paragraph consists of conclusions of law, not allegations of fact to which a

18   response is required. To the extent that a response is deemed required, Federal Defendants

19   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

20          125.    This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, Federal Defendants

22   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

23          126.    This paragraph consists of conclusions of law, not allegations of fact to which a

24   response is required. To the extent that a response is deemed required, Federal Defendants

25   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

26          127.    This paragraph consists of conclusions of law, not allegations of fact to which a

27   response is required. To the extent that a response is deemed required, Federal Defendants
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 1   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents,

 2   and otherwise deny that these laws are nullified by the actions challenged here.

 3          128.    This paragraph consists of conclusions of law, not allegations of fact to which a

 4   response is required. To the extent that a response is deemed required, Federal Defendants

 5   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 6          129.    This paragraph (including footnote 11) consists of conclusions of law, not

 7   allegations of fact to which a response is required. To the extent that a response is deemed

 8   required, Federal Defendants respectfully refer the Court to Plaintiffs’ laws for a full and

 9   complete statement of their contents.

10          130.    This paragraph consists of conclusions of law, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants

12   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          131.    This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          132.    This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, denied.

18          133.    The first sentence consists of conclusions of law, not allegations of fact to which

19   a response is required. To the extent that a response is deemed required, denied. As to the second

20   sentence, admit only that the files at issue here could be used by individuals with the appropriate

21   printer, materials, and knowledge to create certain firearms, including, potentially, in a manner

22   that violates State or Federal law. Federal Defendants lack knowledge or information sufficient

23   to admit or deny the third sentence. The fourth sentence consists of conclusions of law, not

24   allegations of fact to which a response is required; to the extent that a response is deemed

25   required, denied.

26

27
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 1          134.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          135.    Insofar as “source of growing concern” is undefined and vague, Federal

 5   Defendants are unable to admit or deny the allegations of the first sentence. Federal Defendants

 6   lack knowledge or information sufficient to form a belief as to the truth of the allegations

 7   contained in the second, third, and fourth sentences.

 8          136.    Insofar as the first sentence refers to a “problem” that is undefined and vague,

 9   Federal Defendants lack knowledge or information sufficient to admit or deny this sentence. The

10   second sentence consists of conclusions of law, not allegations of fact to which a response is

11   required. To the extent that a response is deemed required, Federal Defendants respectfully refer

12   the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          137.    This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          138.    This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, Federal Defendants

18   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

19          139.    As to the first sentence, admit only that the files at issue here could be used by

20   individuals with the appropriate printer, materials, and knowledge to create certain firearms,

21   including, potentially, in a manner that violates State or Federal law. The second sentence

22   consists of conclusions of law, not allegations of fact to which a response is required; to the extent

23   that a response is deemed required, Federal Defendants respectfully refer the Court to Plaintiffs’

24   laws for a full and complete statement of their contents.

25          140.    This paragraph consists of conclusions of law, not allegations of fact to which a

26   response is required. To the extent that a response is deemed required, Federal Defendants

27   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.
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 1          141.    Federal Defendants lack knowledge or information sufficient to form a belief as

 2   to the truth of the allegations contained in this paragraph.

 3          142.    This paragraph consists of conclusions of law, not allegations of fact to which a

 4   response is required. To the extent that a response is deemed required, Federal Defendants

 5   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 6          143.    Federal Defendants lack knowledge or information sufficient to form a belief as

 7   to the truth of the allegations contained in this paragraph.

 8          144.    This paragraph consists of conclusions of law, not allegations of fact to which a

 9   response is required. To the extent that a response is deemed required, Federal Defendants

10   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

11          145.    This paragraph consists of conclusions of law, not allegations of fact to which a

12   response is required. To the extent that a response is deemed required, admit only that the files

13   at issue here could be used by individuals with the appropriate printer, materials, and knowledge

14   to create certain firearms, including, potentially, in a manner that violates State or Federal law.

15          146.    This paragraph consists of conclusions of law, not allegations of fact to which a

16   response is required. To the extent that a response is deemed required, Federal Defendants

17   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

18          147.    The first sentence consists of conclusions of law, not allegations of fact to which

19   a response is required. To the extent that a response is deemed required, Federal Defendants

20   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

21   As to the second sentence, admit that the files at issue here could be used by individuals with the

22   appropriate printer, materials, and knowledge to create certain firearms, including, potentially, in

23   a manner that violates State or Federal law.

24          148.    This paragraph consists of conclusions of law, not allegations of fact to which a

25   response is required. To the extent that a response is deemed required, Federal Defendants

26   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

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 1          149.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          150.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          151.    Deny the first sentence. As to the second sentence, admit only that the files at

 8   issue here could be used by individuals with the appropriate printer, materials, and knowledge to

 9   create certain firearms, including, potentially, in a manner that violates State or Federal law.

10   Federal Defendants lack knowledge or information sufficient to form a belief as to the truth of

11   the allegations contained in the third sentence. Admit only that the events described in sentences

12   four and five occurred. Insofar as the term “recent history’” is undefined and vague, Federal

13   Defendants lack knowledge or information sufficient to form a belief as to the truth of the

14   allegations contained in the sixth sentence.

15          152.    The first sentence consists of conclusions of law, not allegations of fact to which

16   a response is required; to the extent that a response is deemed required, Federal Defendants

17   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

18   Deny the second sentence. The third sentence consists of conclusions of law, not allegations of

19   fact to which a response is required; to the extent that a response is deemed required, denied.

20          153.    The first, second, third, and fourth sentences consist of conclusions of law, not

21   allegations of fact to which a response is required; to the extent that a response is deemed

22   required, Federal Defendants respectfully refer the Court to Plaintiffs’ laws for a full and

23   complete statement of their contents. Deny the fifth sentence.

24          154.    The first sentence consists of conclusions of law, not allegations of fact to which

25   a response is required; to the extent that a response is deemed required, Federal Defendants

26   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

27   Deny the second and third sentences.
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 1          155.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents

 4   with respect to the first sentence and deny the second sentence.

 5          156.    Deny the first and second sentences. Federal Defendants lack knowledge or

 6   information sufficient to form a belief as to the truth of the third sentence. As to the fourth

 7   sentence, admit only that 3D-printed firearms generally include non-metallic components, which

 8   may prevent them from being detected by certain security equipment. Deny the fifth sentence.

 9          157.    Federal Defendants lack knowledge or information sufficient to form a belief as

10   to the truth of the allegations contained in the first sentence. The remainder of the paragraph

11   consists of conclusions of law, not allegations of fact to which a response is required; to the extent

12   that a response is deemed required, Federal Defendants respectfully refer the Court to Plaintiffs’

13   laws for a full and complete statement of their contents..

14          158.    This paragraph consists of conclusions of law, not allegations of fact to which a

15   response is required. To the extent that a response is deemed required, Federal Defendants

16   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

17          159.    This paragraph consists of conclusions of law, not allegations of fact to which a

18   response is required. To the extent that a response is deemed required, Federal Defendants

19   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

20          160.    This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, Federal Defendants

22   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

23          161.    This paragraph consists of conclusions of law, not allegations of fact to which a

24   response is required. To the extent that a response is deemed required, Federal Defendants

25   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

26

27
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                                                                                  United States Department of Justice
     (No. 2:18-cv-1115-RSL) – 25                                             Civil Division, Federal Programs Branch
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 1          162.    As to the first sentence, admit only that the files at issue here could be used by

 2   individuals with the appropriate printer, materials, and knowledge to create certain firearms,

 3   including, potentially, in a manner that violates State or Federal law. Deny the second sentence.

 4          163.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is requested. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          164.    This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, Federal Defendants

 9   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

10          165.    This paragraph consists of conclusions of law, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants

12   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          166.    This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          167.    This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, Federal Defendants

18   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

19          168.    Denied.

20          169.    This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, Federal Defendants

22   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

23          170.    This paragraph (including footnote 12) consists of conclusions of law, not

24   allegations of fact to which a response is required. To the extent that a response is deemed

25   required, Federal Defendants respectfully refer the Court to Plaintiffs’ laws for a full and

26   complete statement of their contents.

27
     Federal Defendants’ Answer to First Am. Compl.
                                                                                 United States Department of Justice
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 1          171.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          172.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          173.    This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, Federal Defendants

 9   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

10          174.    This paragraph consists of conclusions of law, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants

12   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          175.    This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          176.    This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, Federal Defendants

18   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

19          177.    This paragraph consists of conclusions of law, not allegations of fact to which a

20   response is required. To the extent that a response is deemed required, denied.

21          178.    This paragraph consists of conclusions of law, not allegations of fact to which a

22   response is required. To the extent that a response is deemed required, Federal Defendants

23   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

24          179.    This paragraph consists of conclusions of law, not allegations of fact to which a

25   response is required. To the extent that a response is deemed required, Federal Defendants

26   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

27
     Federal Defendants’ Answer to First Am. Compl.
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 1          180.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          181.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          182.    This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, Federal Defendants

 9   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

10          183.    This paragraph consists of conclusions of law, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants

12   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          184.    This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          185.    Defendants lack knowledge or information sufficient to admit or deny what

17   constitutes threats to public safety in Minnesota. Deny the second sentence.

18          186.    This paragraph consists of conclusions of law, not allegations of fact to which a

19   response is required. To the extent that a response is deemed required, Federal Defendants

20   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

21          187.    This paragraph consists of conclusions of law, not allegations of fact to which a

22   response is required. To the extent that a response is deemed required, Federal Defendants

23   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

24          188.    This paragraph consists of conclusions of law, not allegations of fact to which a

25   response is required. To the extent that a response is deemed required, Federal Defendants

26   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

27
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                                                                                             Washington, DC 20005
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 1          189.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          190.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          191.    This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, Federal Defendants

 9   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

10          192.    This paragraph consists of conclusions of law, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants

12   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          193.    This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          194.    This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, Federal Defendants

18   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

19          195.    This paragraph consists of conclusions of law, not allegations of fact to which a

20   response is required. To the extent that a response is deemed required, denied.

21          196.    This paragraph consists of conclusions of law, not allegations of fact to which a

22   response is required. To the extent that a response is deemed required, Federal Defendants

23   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

24          197.    This paragraph consists of conclusions of law, not allegations of fact to which a

25   response is required. To the extent that a response is deemed required, Federal Defendants

26   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

27
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                                                                                 United States Department of Justice
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 1          198.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          199.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          200.    This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, Federal Defendants

 9   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

10          201.    This paragraph consists of conclusions of law, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants

12   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          202.    This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          203.    This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, Federal Defendants

18   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

19          204.    The first sentence consists of conclusions of law, not allegations of fact to which

20   a response is required; to the extent that a response is deemed required, denied. As to the second

21   and third sentence, admit only that the files at issue here could be used by individuals with the

22   appropriate printer, materials, and knowledge to create certain firearms, including, potentially, in

23   a manner that violates State or Federal law. The fourth sentence consists of legal conclusions,

24   not allegations of fact to which a response is required; to the extent that a response is deemed

25   required, denied.

26

27
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 1          205.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          206.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          207.    This paragraph consists of conclusions of law, not allegations of fact to which a

 8   response is required. To the extent that a response is deemed required, Federal Defendants

 9   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

10          208.    This paragraph consists of conclusions of law, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants

12   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

13          209.    This paragraph consists of conclusions of law, not allegations of fact to which a

14   response is required. To the extent that a response is deemed required, Federal Defendants

15   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

16          210.    Federal Defendants lack knowledge or information sufficient to form a belief as

17   to the allegations contained in the first sentence. The second sentence consists of conclusions of

18   law, not allegations of fact to which a response is required; to the extent that a response is deemed

19   required, denied.

20          211.    This paragraph consists of conclusions of law, not allegations of fact to which a

21   response is required. To the extent that a response is deemed required, Federal Defendants deny

22   the second clause of the first sentence, deny the third sentence, and otherwise respectfully refer

23   the Court to Plaintiffs’ laws for a full and complete statement of their contents.

24          212.    This paragraph consists of conclusions of law, not allegations of fact to which a

25   response is required. To the extent that a response is deemed required, Federal Defendants

26   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

27
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 1          213.    This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants

 3   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 4          214.    This paragraph consists of conclusions of law, not allegations of fact to which a

 5   response is required. To the extent that a response is deemed required, Federal Defendants

 6   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

 7          215.    The first, second, and third sentences consist of conclusions of law, not allegations

 8   of fact to which a response is required; to the extent that a response is deemed required, Federal

 9   Defendants respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of

10   their contents. Deny the fourth sentence.

11          216.    This paragraph consists of conclusions of law, not allegations of fact to which a

12   response is required. To the extent that a response is deemed required, Federal Defendants

13   respectfully refer the Court to Plaintiffs’ laws for a full and complete statement of their contents.

14          217.    The first sentence consists of conclusions of law, not allegations of fact to which

15   a response is required; to the extent that a response is deemed required, denied. As to the second

16   sentence, admit only that the files at issue here could be used by individuals with the appropriate

17   printer, materials, and knowledge to create certain firearms, including, potentially, in a manner

18   that violates State or Federal law.

19          218.    Federal Defendants repeat and incorporate by reference their responses to all

20   preceding paragraphs.

21          219.    This paragraph consists of conclusions of law, not allegations of fact to which a

22   response is required. To the extent that a response is deemed required, admit that 5 U.S.C. § 706

23   contains the quoted language, and otherwise refer the Court to the statute for a full and complete

24   statement of its contents.

25          220.    This paragraph consists of conclusions of law, not allegations of fact to which a

26   response is required. To the extent that a response is deemed required, denied.

27
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 1           221.      This paragraph consists of conclusions of law, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, denied.

 3           222.      Admit that Federal Defendants did not provide formal advance notice of the

 4   Temporary Modification to the House Committee on Foreign Affairs and to the Committee on

 5   Foreign Relations of the Senate; otherwise deny.

 6           223.      This paragraph consists of Plaintiffs’ characterization of a press release issued by

 7   Representative Eliot Engel; Federal Defendants respectfully refer the Court to that press release

 8   for a full and complete statement of its contents.

 9           224.      This paragraph consists of conclusions of law, not allegations of fact to which a

10   response is required. To the extent that a response is deemed required, denied.

11           225.      This paragraph consists of conclusions of law, not allegations of fact to which a

12   response is required. To the extent that a response is deemed required, admit that 22 C.F.R.

13   § 126.2 contains the quoted language but otherwise deny as an incomplete characterization of

14   that provision.

15           226.      Deny that Federal Defendants have made no determination that the challenged

16   actions are in the security and foreign policy interest of the United States; the remaining

17   allegations of this paragraph consist of legal conclusions, not allegations of fact to which a

18   response is required. To the extent that a response is deemed required, denied.

19           227.      This paragraph consists of conclusions of law, not allegations of fact to which a

20   response is required. To the extent that a response is deemed required, denied.

21           228.      This paragraph consists of a request for relief, not allegations of fact to which a

22   response is required. To the extent that a response is deemed required, Federal Defendants deny

23   that Plaintiffs are entitled to this relief or any relief whatsoever.

24           229.      Federal Defendants repeat and incorporate by reference their responses to all

25   preceding paragraphs.

26           230.      This paragraph consists of conclusions of law, not allegations of fact to which a

27   response is required. To the extent that a response is deemed required, admit that 5 U.S.C. § 706
     Federal Defendants’ Answer to First Am. Compl.
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 1   contains the quoted language, and otherwise refer the Court to the statute for a full and complete

 2   statement of its contents.

 3           231.    Admit that Federal Defendants did not provide formal advance notice of the

 4   Temporary Modification to the House Committee on Foreign Affairs and to the Committee on

 5   Foreign Relations of the Senate; otherwise deny.

 6           232.    This paragraph consists of conclusions of law, not allegations of fact to which a

 7   response is required. To the extent that a response is deemed required, denied.

 8           233.    This paragraph consists of conclusions of law, not allegations of fact to which a

 9   response is required. To the extent that a response is deemed required, denied.

10           234.    This paragraph consists of a request for relief, not allegations of fact to which a

11   response is required. To the extent that a response is deemed required, Federal Defendants deny

12   that Plaintiffs are entitled to this relief or any relief whatsoever.

13           235.    Federal Defendants repeat and incorporate by reference their responses to all

14   preceding paragraphs.

15           236.    This paragraph consists of conclusions of law, not allegations of fact to which a

16   response is required. To the extent that a response is deemed required, admit that Plaintiffs have

17   accurately quoted portions of 5 U.S.C. § 706, and otherwise refer the Court to the statute for a

18   full and complete statement of its contents.

19           237.    This paragraph consists of conclusions of law, not allegations of fact to which a

20   response is required. To the extent that a response is deemed required, admit that Plaintiffs have

21   identified certain relevant considerations when a court is reviewing agency action under the

22   Administrative Procedure Act, and otherwise refer the Court to the statute for a full and complete

23   statement of its contents.

24           238.    Denied.

25           239.    This paragraph consists of conclusions of law, not allegations of fact to which a

26   response is required. To the extent that a response is deemed required, denied.

27
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 1           240.    This paragraph consists of a request for relief, not allegations of fact to which a

 2   response is required. To the extent that a response is deemed required, Federal Defendants deny

 3   that Plaintiffs are entitled to this relief or any relief whatsoever.

 4           241.    Federal Defendants repeat and incorporate by reference their responses to all

 5   preceding paragraphs.

 6           242.    This paragraph consists of conclusions of law, not allegations of fact to which a

 7   response is required. To the extent that a response is deemed required, admit that certain police

 8   powers are reserved to the States.

 9           243.    This paragraph consists of conclusions of law, not allegations of fact to which a

10   response is required. To the extent that a response is deemed required, denied as an incomplete

11   statement of relevant doctrine.

12           244.    This paragraph consists of conclusions of law, not allegations of fact to which a

13   response is required. To the extent that a response is deemed required, Defendants respectfully

14   refer the Court to the Temporary Modification for a full and complete statement of its contents,

15   and otherwise deny.

16           245.    This paragraph consists of conclusions of law, not allegations of fact to which a

17   response is required. To the extent that a response is deemed required, denied.

18           246.    This paragraph consists of conclusions of law, not allegations of fact to which a

19   response is required. To the extent that a response is deemed required, admit only that the

20   Temporary Modification was issued on July 27, 2018, and otherwise deny.

21           247.    This paragraph consists of a request for relief, not allegations of fact to which a

22   response is required. To the extent that a response is deemed required, Federal Defendants deny

23   that Plaintiffs are entitled to this relief or any relief whatsoever.

24           The remainder of the Amended Complaint consists of a request for relief, not allegations

25   of fact to which a response is required. To the extent that a response is deemed required, Federal

26   Defendants deny that Plaintiffs are entitled to this relief or any relief whatsoever.

27
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 1                                   AFFIRMATIVE DEFENSES

 2          1. The Court lacks subject matter jurisdiction.

 3          2. Plaintiff fails to state a claim on which relief may be granted.

 4          THEREFORE, having fully answered, Federal Defendants assert that Plaintiffs are not

 5   entitled to the relief requested, or to any relief whatsoever, and request that this action be

 6   dismissed with prejudice and that Federal Defendants be given such other relief as the Court

 7   deems just and proper. Each and every allegation of the Amended Complaint not heretofore

 8   expressly admitted or denied is hereby denied.

 9   Dated: October 9, 2018                       Respectfully submitted,
10
                                                  JOSEPH H. HUNT
11                                                Assistant Attorney General

12                                                ANNETTE L. HAYES
                                                  Acting United States Attorney
13

14                                                KERRY KEEFE
                                                  Civil Chief
15
                                                  JOHN R. GRIFFITHS
16                                                Director, Federal Programs Branch
17                                                ANTHONY J. COPPOLINO
18                                                Deputy Director, Federal Programs Branch

19                                                /s/ Steven A. Myers
                                                  STEVEN A. MYERS
20                                                STUART J. ROBINSON
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21                                                U.S. Department of Justice
22                                                Civil Division, Federal Programs Branch
                                                  1100 L Street NW
23                                                Washington, D.C. 20005
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24                                                (202) 616-8470 (facsimile)
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25

26                                                Attorneys for Federal Defendants

27
     Federal Defendants’ Answer to First Am. Compl.
                                                                               United States Department of Justice
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 1                                    CERTIFICATE OF SERVICE

 2             I hereby certify that on October 9, 2018, I electronically filed the foregoing document

 3   using the Court’s CM/ECF system, causing a notice of filing to be served upon all counsel of

 4   record.

 5
     Dated: October 9, 2018                                /s/ Steven A. Myers
 6                                                         Steven A. Myers
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